     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 1 of 29 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

KEN PAXTON, in his official capacity as    §
Attorney General of Texas,                 §
DAVID SCHNITZ,                             §
TRACY MARTIN, and                          §
FLOICE ALLEN,                              §
      Plaintiffs,                          §
                                           §
vs.                                        §               Civil Action No. ______________
                                           §
MARVIN RICHARDSON, in his official         §               COMPLAINT
Capacity as Acting Director, Bureau of     §
Alcohol, Tobacco, Firearms and Explosives, §
      Defendant.                           §

                                      INTRODUCTION

   1.    Federal law has heavily taxed and regulated firearm suppressors since 1934. Since 1968,

it has been illegal to make a firearm suppressor for personal use without first paying a $200 tax,

marking the suppressor with a serial number, getting the approval of the federal government, and

registering the firearm suppressor.

   2.    Heavy federal taxation and regulation of firearm suppressors made in Texas for personal

use in Texas does not survive Heller’s recognition that the right to keep and bear arms is an

individual, fundamental right. “[T]he enshrinement of constitutional rights necessarily takes

certain policy choices off the table.” District of Columbia v. Heller, 554 U.S. 570, 636 (2008).

   3.    There has never been a public-safety justification for the taxation and regulation of

firearm suppressors.
    Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 2 of 29 PageID 2



   4.     Moreover, federal regulation of firearm suppressors made in Texas for personal use in

Texas cannot be justified as regulations of interstate commerce, or as laws necessary and proper

for the carrying into execution such regulations of interstate commerce.

   5.     David Schnitz, Tracy Martin, and Floice Allen are Texas citizens, have informed the

Attorney General of Texas that they intend to make a firearm suppressor for personal use in Texas

that will remain in Texas. Moreover, Schnitz, Martin, and Allen intend to make the firearm

suppressor out of basic materials that are not firearm suppressors and that would not be subject to

federal regulation if they possessed them for other reasons. Therefore, Texas law states that the

firearm suppressor they intend to make will not be subject to federal law or federal regulation,

including registration, under the authority of the United States Congress to regulate interstate

commerce. See TEX. GOV’T CODE §§ 2.052(a).

   6.     Upon such notification, Texas law requires the Attorney General of Texas, Ken Paxton,

to file suit against the federal government. TEX. GOV’T CODE § 2.054.

   7.     Consequently, Plaintiffs seek an injunction against enforcing federal firearms statutes and

regulations as applied to persons who make firearm suppressors in Texas for personal use that will

remain in Texas.

   8.     Plaintiffs also seek declaration that firearms suppressors made in Texas for personal use

in Texas may not be regulated under the Interstate Commerce Clause or the Necessary and Proper

Clause.

                                          I. PARTIES

   9.     Plaintiff Ken Paxton is the Attorney General of Texas who, under the circumstances

herein presented, is charged by state law with a duty to seek a declaratory judgment in federal



                                                  2
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                Page 3 of 29 PageID 3



district court that Section 2.052 of the Texas Government Code is consistent with the United

States Constitution. TEX. GOV’T CODE § 2.054.

   10.   The Attorney General represents the State of Texas.

   11.   The State of Texas is a sovereign state, subject only to the Constitution of the United

States. TEX. CONST. art. I, § 1.

   12.   The State of Texas has standing to assert its sovereign interest in regulating the making

of firearm suppressors within Texas that will stay in Texas.

   13.   Plaintiff David Schnitz is a United States Citizen who resides in the State of Texas.

Schnitz is a resident of Jim Wells County, which is located in the Southern District of Texas,

Corpus Christi Division. Schnitz intends to manufacture a firearm suppressor to which section

2.052 of the Texas Government Code applies, and has notified the attorney general of that fact in

writing. Exhibit 1.

   14.   Plaintiff Tracy Martin is a United States Citizen who resides in the State of Texas. Martin

is a resident of Rockwall County, which is located in the Northern District of Texas, Dallas

Division. Martin intends to manufacture a firearm suppressor to which section 2.052 of the Texas

Government Code applies and has notified the attorney general of that fact in writing. Exhibit 1.

   15.   Plaintiff Floice Allen is a United States Citizen who resides in the State of Texas. Allen

is a resident of Tarrant County, which is located in the Northern District of Texas, Fort Worth

Division. Allen intends to manufacture a firearm suppressor to which section 2.052 of the Texas

Government Code applies and has notified the attorney general of that fact in writing. Exhibit 1.




                                                 3
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 4 of 29 PageID 4



   16.    Marvin Richardson is the Acting Director of the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“BATFE”). That agency is responsible for the enforcement of the challenged

federal laws.

                            II. JURISDICTION AND VENUE

   17.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

jurisdiction), because this action arises under the United States Constitution and under 28 U.S.C.

§ 1346(a)(2), because this suit constitutes a civil action against an executive department of the

United States.

   18.    The Court is authorized to award the requested injunctive relief under 28 U.S.C. § 1361.

   19.    The Court is authorized to award the requested declaratory relief under 28 U.S.C.

§ 2201.

   20. The Anti-Injunction Act, 26 U.S.C. § 7421, does not bar this case because under no

circumstances can the government ultimately prevail, and Texas sovereign interests are harmed.

Enochs v. Williams Packing & Navigation Co., 370 U.S. 1, 7 (1962).

   21.    Among the purposes of this lawsuit is to enjoin enforcement of statutes and regulations

that impose duties other than paying a tax. The Anti-Injunction Act does not apply to those

challenges. CIC Services, LLC v. Internal Revenue Service, 141 S.Ct. 1582, 1592 (2021).

   22. Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1)(B) because a substantial part

of the events or omissions giving rise to the claim occurred, and § 1391(e)(1)(C) because a plaintiff

resides in this venue and no real property is involved in the action.




                                                  4
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 5 of 29 PageID 5



                              III. FACTUAL BACKGROUND

A. Firearm Suppressors

   23.   Under federal law, “[t]he terms ‘firearm silencer’ and ‘firearm muffler’ mean any device

for silencing, muffling, or diminishing the report of a portable firearm, including any combination

of parts, designed or redesigned, and intended for use in assembling or fabricating a firearm silencer

or firearm muffler, and any part intended only for use in such assembly or fabrication.” 18 U.S.C.

§ 921(a)(24).

   24. To “diminish the report of a portable firearm” is to make it quieter when fired. See United

States v. Syverson, 90 F.3d 227, 229 (7th Cir. 1996) (the government “introduced evidence showing

that Syverson had knowingly possessed the cylinder and that it could be used to reduce the report

of a pistol from 151 decibels to 144.5.”).

   25.   “[T]he term ‘silencer’ is a misnomer, in that—despite movie fantasies—a noise

suppressor reduces decibels, but does not actually ‘silence’ that discharge of a firearm. Noise may

be muffled or diminished, and maybe only by a few decibels at that, but it can still be heard.”

Stephen P. Halbrook, Firearm Sound Moderators: Issues of Criminalization and the Second

Amendment, 46 CUMB. L. REV. 35, 36 (2016) (“Halbrook”).

   26.   “Firearm silencers” or “Firearm mufflers” are also commonly known as “firearm

suppressors,” or simply “suppressors,” “silencers,” or “mufflers.” See United States v. Bolatete,

977 F.3d 1022, 1028 (11th Cir. 2020) (referring to “suppressors or silencers (which are the same

thing)”); United States v. Taylor, 100 Fed. Appx. 305, 307 (5th Cir. 2004) (irrelevant subsequent

history omitted) (“Taylor admitted that he had tried to make silencers with the help of a book

entitled ‘How to Build Practical Firearms Suppressors: an Illustrated Step-by-Step Guide.’”). At



                                                  5
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22               Page 6 of 29 PageID 6



least one scholar has also referred to them as “sound moderators” and “noise suppressors.”

Halbrook, supra.

    27.   In this Complaint, the term “firearm suppressor” has the same meaning as

“suppressor,” “noise suppressor,” “firearm silencer,” “silencer,” “firearm muffler,”

“muffler,” and “sound moderator,” unless otherwise specified or a different meaning is apparent

from the context.

    28. Firearm suppressors were invented by Hiram Percy Maxim in the first decade of the 20th

century. He also invented the car engine muffler and mufflers for loud factory equipment around

the same time. Firearm suppressors and car engine mufflers operate on similar principles. Noise is

caused by hot gasses exiting the muzzle of a gun or the exhaust pipe of an automobile. Firearm

suppressors and car engine mufflers cause the escaping hot gas to swirl and cool, lowering the

volume of the noise. Halbrook, supra, at 41–42; FIREARMS LAW AND THE SECOND AMENDMENT:

REGULATION, RIGHTS,      AND   POLICY, NICHOLAS J. JOHNSON,    ET AL.   at 557–58 (3rd ed. 2021)

(“Firearms Law and the Second Amendment”); HIRAM PERCY MAXIM, ALICE CLINK SCHUMACHER

(1998) at 48–53.

    29.   On information and belief, firearm suppressors may be made out of commonly and legally

available products, many of which are sold by firearms dealers and Amazon.com. 1

    30.   Firearm suppressors should not be regulated at all because they are widely accepted and

very infrequently used in criminal activity. As Ronald Turk, former second in command of

BAFTE, stated in 2017:




1See, e.g., https://www.theverge.com/2019/8/26/20828900/silencer-suppressor-online-sales-
gun-accesories-atf-rules (accessed February 24, 2022).
                                                6
    Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 7 of 29 PageID 7



   In the past several years, opinions about silencers have changed across the United States.
   Their use to reduce noise at shooting ranges and applications within the sporting and
   hunting industry are now well recognized. At present, 42 states generally allow silencers to
   be used for sporting purposes….

   While DOJ and ATF have historically not supported removal of items from the [National
   Firearms Act of 1934], the change in public acceptance of silencers arguably indicates that
   the reason for their inclusion in the [National Firearms Act of 1934] is archaic and historical
   reluctance to removing them from the [National Firearms Act of 1934] should be
   reevaluated. ATF’s experience with the criminal use of silencers also supports reassessing
   their inclusion in the [National Firearms Act of 1934]. On average in the past 10 years, ATF
   has only recommended 44 defendants a year for prosecution on silencer-related violations;
   of those, only approximately 6 of the defendants had prior felony convictions. Moreover,
   consistent with this low number of prosecution referrals, silencers are very rarely used in
   criminal shootings. Given the lack of criminality associated with silencers, it is reasonable
   to conclude that they should not be viewed as a threat to public safety necessitating
   [National Firearms Act of 1934] classification, and should be considered for reclassification
   under the [Gun Control Act of 1968].

Exhibit 2, Options to Reduce or Modify Firearms Regulations, White Paper (Not for public

distribution), Ronald Turk, Associate Deputy Director (Chief Operating Officer), Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), January 20, 2017, at 6–7.

   31.   Moreover, on information and belief, the tax on firearms suppressors does not raise

significant revenue, and does not even pay the costs to enforce the tax. As Ronald Turk stated in

2017:

   The wide acceptance of silencers and corresponding changes in state laws have created
   substantial demand across the country. This surge in demand has caused ATF to have a
   significant backlog on silencer applications. ATF’s processing time is now approximately
   8 months. ATF has devoted substantial resources in attempts to reduce processing times,
   spending over $1 million annually in overtime and temporary duty expenses, and dedicating
   over 33 additional full-time and contract positions since 2011 to support NFA processing.
   Despite these efforts, [National Firearms Act of 1934] processing times are widely viewed
   by applicants and the industry as far too long, resulting in numerous complaints to
   Congress. Since silencers account for the vast majority of [National Firearms Act of 1934]
   applications, the most direct way to reduce processing times is to reduce the number of
   silencer applications.

Exhibit 2.


                                                 7
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 8 of 29 PageID 8



   32.   There are over 2.6 million firearm suppressors registered in the United States, including

over 500,000 registered in Texas. BATFE, Firearms Commerce in the United States, Annual

Statistical Update 2021, at 16. They are legal to possess in 42 states, including Texas. Firearms Law

and the Second Amendment at 600.

B. Complainants

   33.   Schnitz, Martin, and Allen each intend to personally manufacture a firearm suppressor

for their own personal use. The firearm suppressors will be manufactured in their homes from basic

materials without the inclusion of any part imported from another state other than a generic and

insignificant part, such as a spring, screw, nut, or pin. Schnitz, Martin, and Allen have notified the

attorney general in writing of these facts. Exhibit 1.

   34.   Schnitz, Martin, and Allen intend to own the firearm suppressors in perpetuity, to never

transport them outside the boundaries of the State of Texas, and to never transfer them to another

person. Schnitz, Martin, and Allen intend to use the firearm suppressors with a personal firearm,

exclusively for the purpose of home defense. Exhibit 1.

   35.   Use of a firearm suppressor with a personal firearm for home defense will empower

Schnitz, Martin, and Allen to better defend their homes in the event of a home invasion. Use of a

firearm suppressor will allow Schnitz, Martin, and Allen to diminish the need to obtain and use

hearing protection during a home invasion. Use of a firearm suppressor in lieu of use of hearing

protection will allow Schnitz, Martin, and Allen the ability to react more quickly, to fully use their

sense of hearing to evaluate the danger, and to make proper decisions about their actions, including

when to initiate and cease the use of lethal force. Exhibit 1.




                                                  8
    Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 9 of 29 PageID 9



                                    IV. FEDERAL LAW

   36.   As one scholar has written, “Devices to reduce noise at its source are ubiquitous in

modern society. But imagine if you had to register with the government, obtain permission of law

enforcement, submit fingerprints, and pay a $200 tax in order to have a muffler on your automobile

or lawn mower. You have to do exactly that to obtain a device to muffle the noise from your firearm,

and if you fail to do so, you can be imprisoned for ten years.” Halbrook, supra, at 35 (footnotes

omitted).

A. Federal law defines firearm suppressors as “firearms.”

   37.   Most firearms are regulated under Gun Control Act of 1968 as amended, 18 U.S.C. § 921

et seq. The Gun Control Act of 1968 is a commerce regulation.

   38.   Firearm suppressors are also regulated under the Gun Control Act of 1968, which defines

firearm suppressors as “firearms.” “The term ‘firearm’ means (A) any weapon (including a

starter gun) which will or is designed to or may readily be converted to expel a projectile by the

action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm muffler or

firearm silencer; or (D) any destructive device.” 18 U.S.C. § 921(a)(3). “The terms ‘firearm

silencer’ and ‘firearm muffler’ mean any device for silencing, muffling, or diminishing the report

of a portable firearm, including any combination of parts, designed or redesigned, and intended for

use in assembling or fabricating a firearm silencer or firearm muffler, and any part intended only

for use in such assembly or fabrication.” 18 U.S.C. § 921(a)(24).

   39.   But the Gun Control Act does not prohibit the making of standard firearms and firearm

suppressors for personal use. 18 U.S.C. § 922 lists many prohibitions, but there is no prohibition

on making firearm suppressors for personal use.



                                                  9
    Case 4:22-cv-00143-P Document 1 Filed 02/24/22                   Page 10 of 29 PageID 10



    40. BAFTE confirms that there is no legal prohibition on making firearms (including firearm

suppressors) for personal use, but that “the making of an NFA firearm [i.e. firearms covered by

the National Firearms Act of 1934, including firearm suppressors] requires a tax payment and

advance approval by ATF.” 2

    41.   Firearm suppressors are also regulated under the National Firearms Act of 1934 as

amended, 26 U.S.C. § 5801 et seq. The National Firearms Act of 1934 is a tax statute, located in

the United States Code at Title 26 (“Internal Revenue Code”), Subtitle E (“Alcohol, Tobacco,

and Certain Other Excise Taxes”), Chapter 53 (“Machine Guns, Destructive Devices, and Certain

other Firearms”).

    42. “While the National Firearms Act of 1934 is based on Congress’s tax power and only

covered [a] small fraction of the American gun supply [including firearm suppressors], the Gun

Control Act of 1968 applies to all firearms manufactured after 1898 and is based on the interstate

commerce power.” Firearms Law and the Second Amendment, supra, at 660.

    43.   The National Firearms Act of 1934 defines “firearms” as eight categories of things,

including, generally, short-barreled shotguns., short-barreled rifles, machine guns, “destructive

devices” (such as explosives, artillery, and missiles), and firearm suppressors. 26 U.S.C. § 5845(a)

(listing the eight categories); 5845(a)(7) (listing “any silencer (as defined in section 921 of title 18,

United States Code [the Gun Control Act of 1968, quoted above]”).

    44. “Note this unusual definition of ‘firearm.’ As used in the [National Firearms Act of

1934], a ‘firearm’ does not include most weapons that are normally called firearms, such as most




2 https://www.atf.gov/firearms/qa/does-individual-need-license-make-firearm-personal-use
(last accessed February 24, 2022).
                                                   10
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 11 of 29 PageID 11



rifles, shotguns, and handguns. Instead, the category of [National Firearms Act 1934] ‘firearms’

includes only some particular weapons that were thought to be gangster weapons. By [National

Firearms Act of 1934] definition, ‘firearm’ also includes accessories such as sound suppressors

(‘silencers’).” Firearms Law and the Second Amendment, supra, at 574 n.58.

   45.   “By being defined as a ‘firearm’ in the [National Firearms Act of 1934], a [firearm]

suppressor is subject to the same strict requirements involving registration, taxation, and approval

by the government that apply to machines guns and artillery.” Halbrook, supra, at 39.

   46.   Moreover, an item that does not itself silence, muffle, or diminish the report of a portable

firearm is also a “firearm” if it is “intended for use in assembling or fabricating a [firearm

suppressor], and any part intended only for use in such assembly or fabrication.” 18 U.S.C.

§ 921(a)(24). Thus, a metal pipe is a “firearm” subject to taxation and regulation under the

National Firearms Act of 1934 if the owner of the metal pipe intends to incorporate it into a firearm

suppressor. Other metal pipes are not defined as “firearms” in the statute.

B. Federal law prohibits Texans from making firearm suppressors for personal use in Texas
   without the approval of BAFTE.

   47.   Under the National Firearms Act of 1934, as amended by the Gun Control Act of 1968,

“[t]he term ‘make’, and the various derivatives of such word, shall include manufacturing (other

than by one qualified to engage in such business under this chapter), putting together, altering, any

combination of these, or otherwise producing a [firearm suppressor].” 26 U.S.C. § 5845(i);

Compare to 26 U.S.C. § 5845 (“The term “manufacturer” means any person who is engaged in

the business of manufacturing [firearm suppressors].)”

   48. Thus, under federal law, a person “makes” a firearm suppressor if it is intended for

personal use, but “manufactures” a firearm suppressor if it is intended for sale.


                                                 11
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 12 of 29 PageID 12



   49.    “No person shall make a [firearm suppressor] unless he has (a) filed with the Secretary

a written application, in duplicate, to make and register the [firearm suppressor] on the form

prescribed by the Secretary; (b) paid any tax payable on the making and such payment is evidenced

by the proper stamp affixed to the original application form; (c) identified the [firearm suppressor]

to be made in the application form in such manner as the Secretary may by regulations prescribe;

(d) identified himself in the application form in such manner as the Secretary may by regulations

prescribe, except that, if such person is an individual, the identification must include his

fingerprints and his photograph; and (e) obtained the approval of the Secretary to make and register

the [firearm suppressor] and the application form shows such approval. Applications shall be

denied if the making or possession of the [firearm suppressor] would place the person making the

[firearm suppressor] in violation of law.” 26 U.S.C. § 5822.

   50.   “The term ‘Secretary’ means the Secretary of the Treasury or his delegate.” 26 U.S.C.

§ 7701(a)(11)(B). But the term “Secretary” or “Secretary of the Treasury” in Chapter 53 means

the Attorney General. 26 U.S.C. § 7801(a)(2)(A)(i).

   51.   Before the enactment of the Homeland Security Act, the Bureau of Alcohol, Tobacco,

and Firearms, a part of the Treasury Department, enforced the National Firearms Act of 1934. The

Homeland Security Act transferred those responsibilities to BATFE, a part of the Department of

Justice. 28 U.S.C. § 599A. BAFTE continues to enforce the National Firearms Act of 1934.

   52.   “The application to make a firearm, Form 1 (Firearms), must be forwarded directly, in

duplicate, by the maker of the firearm to the Director in accordance with the instructions on the

form.” 27 C.F.R. § 479.64. A copy of Form 1 is attached as Exhibit 3.




                                                 12
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 13 of 29 PageID 13



   53.   The Form 1 must be “executed under the penalties of perjury,” and submitted along with

$200. 27 C.F.R. § 479.62(b)(1).

   54.   “[On the Form 1,] the applicant shall provide the applicant’s name, address, and date of

birth, and also comply with the identification requirements prescribed in § 479.63(a).” 27 C.F.R.

§ 479.62(b)(2).

   55.   “If the applicant is an individual, the applicant shall [on the Form 1] (1) Securely attach

to each copy of the Form 1, in the space provided on the form, a 2 x 2-inch photograph of the

applicant, clearly showing a full front view of the features of the applicant with head bare, with the

distance from the top of the head to the point of the chin approximately 1 1/4 inches, and which

shall have been taken within 1 year prior to the date of the application; and (2) Attach to the

application two properly completed FBI Forms FD-258 (Fingerprint Card). The fingerprints must

be clear for accurate classification and should be taken by someone properly equipped to take

them.” 27 C.F.R. § 479.63(a).

   56.   An applicant who wishes to make a firearm suppressor for personal use must also include

on the Form 1 “[a] description of the [firearm suppressor] to be made by type; caliber, gauge, or

size; model; length of barrel; serial number; other marks of identification.” 27 C.F.R.

§ 479.62(b)(3).

   57.   The applicant must also provide “[t]he applicant’s Federal firearms license number (if

any)” and “special (occupational) tax stamp (if applicable).” 27 C.F.R. § 479.62(b)(4), (5).

   58.   “If the applicant … is an alien admitted under a nonimmigrant visa, applicable

documentation demonstrating that the nonimmigrant alien” is allowed to possess a firearm

suppressor. 27 C.F.R.§ 479.62(b)(6).



                                                 13
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                     Page 14 of 29 PageID 14



    59.     Although not required by statute, “Prior to the submission of the application to the

Director, all applicants … shall forward a completed copy of Form 1 … to the chief law

enforcement officer of the locality in which the applicant … is located. The chief law enforcement

officer is the local chief of police, county sheriff, head of the State police, or State or local district

attorney or prosecutor.” 27 C.F.R. § 479.62(c).

    60.     Although not required by statute or rule, the ATF Form 1 also requires the applicant to

submit his or her social security number. Exhibit 3.

    61.     Although not required by statute or rule, the ATF Form 1 also requires the applicant to

identify his or her race and ethnicity. Exhibit 3.

    62.     “If the application is approved, the Director will affix a National Firearms Act stamp to

the original application in the space provided therefor and properly cancel the stamp. The

approved application will then be returned to the applicant.” 27 C.F.R. § 479.62(d).

    63.     “The Director will consider the application for approval or disapproval. If the application

is approved, the Director will return the original thereof to the maker of the firearm and retain the

duplicate. Upon receipt of the approved application, the maker is authorized to make the firearm

described therein. The maker of the firearm shall not, under any circumstances, make the firearm

until the application, satisfactorily executed, has been forwarded to the Director and has been

approved and returned by the Director with the National Firearms Act stamp affixed.” 27 C.F.R.

§ 479.64.

    64.     “An application to make a firearm shall not be approved by the Director if the making or

possession of the firearm would place the person making the firearm in violation of law.” 27 C.F.R.

§ 479.65. “If the application is disapproved, the original Form 1 (Firearms) and the remittance



                                                   14
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 15 of 29 PageID 15



submitted by the applicant for the purchase of the stamp [$200] will be returned to the applicant

with the reason for disapproval stated on the form.” 27 C.F.R. § 479.64.

   65.   On information and belief, BAFTE approves or denies Form 1 applications in two to four

weeks.

C. All newly made firearm suppressors must be registered—including those made by Texans
   for personal use in Texas.

   66.   Firearm suppressors are registered in the National Firearms Registration and Transfer

Record. 26 U.S.C. § 5841(a). “The registry shall include (1) identification of the [firearm

suppressor]; (2) date of registration; and (3) identification and address of person entitled to

possession of the [firearm suppressor].” Id.

   67.   “Each … maker shall register each [firearm suppressor] he … makes.” 26 U.S.C.

§ 5841(b).

   68.   “Each … maker … of a [firearm suppressor] shall, prior … making a [firearm

suppressor], obtain authorization in such manner as required by this chapter or regulations issued

thereunder to … make … the [firearm suppressor], and such authorization shall effect the

registration of the [firearm suppressor] required by this section.” 26 U.S.C. § 5841(c). “The

approval by the Director of an application, Form 1 (Firearms), to make a firearm under this subpart

shall effectuate registration of the firearm described in the Form 1 (Firearms) to the person making

the firearm.” 27 C.F.R. § 479.71.

   69.   “A person possessing a [firearm suppressor] registered as required by this section shall

retain proof of registration which shall be made available to the Secretary upon request.” 26 U.S.C.

§ 5841(e). “The original Form 1 (Firearms) showing approval by the Director shall be retained by




                                                15
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 16 of 29 PageID 16



the maker to establish proof of his registration of the firearm described therein, and shall be made

available to any ATF officer on request.” 27 C.F.R. § 479.71.

D. All firearm suppressors must be marked with an individual serial number and other
   information—including those made by Texans for personal use in Texas.

   70.   “[A]nyone making a [firearm suppressor] shall identify each [firearm suppressor] … by

a serial number which may not be readily removed, obliterated, or altered, the name of the …

maker, and such other identification as the Secretary may by regulations prescribe.” 26 U.S.C.

§ 5842(a).

   71.   A maker of a firearm suppressor “must legibly identify the [firearm suppressor] [b]y

engraving, casting, stamping (impressing), or otherwise conspicuously placing or causing to be

engraved, cast, stamped (impressed) or placed on the frame or receiver thereof an individual serial

number. The serial number must be placed in a manner not susceptible of being readily obliterated,

altered, or removed, and must not duplicate any serial number placed by you on any other firearm.

For firearms manufactured, imported, or made on and after January 30, 2002, the engraving,

casting, or stamping (impressing) of the serial number must be to a minimum depth of .003 inch

and in a print size no smaller than 1/16 inch; and also] certain additional information … [including]:

(i) The model, if such designation has been made; (ii) The caliber or gauge; (iii) Your name (or

recognized abbreviation) … (iv) In the case of a domestically made firearm, the city and State (or

recognized abbreviation thereof) where you … as the maker, made the firearm.” 27 C.F.R.

§ 479.102(a).

   72.   “The depth of all markings required by this section will be measured from the flat surface

of the metal and not the peaks or ridges. The height of serial numbers required by paragraph (a)(1)




                                                 16
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 17 of 29 PageID 17



of this section will be measured as the distance between the latitudinal ends of the character

impression bottoms (bases).” 27 C.F.R. § 479.102(b).

E. Everyone who makes a suppressor in Texas for personal use in Texas must pay a tax of
   $200.

   73.   There is a federal excise tax of 10% or 11% on the sale of most firearms. 26 U.S.C. § 4181.

However, there is an exemption entitled “Machine guns and short barrelled [sic] firearms”: “The

tax imposed by section 4181 shall not apply to any firearm on which the tax provided by section

5811 has been paid.” 26 U.S.C. § 4182(a). Despite the exemption’s title, it applies to all “firearms”

regulated under the National Firearms Act of 1934, including firearm suppressors.

   74.   The tax on making firearms suppressors and other “firearms” regulated under the

National Firearms Act of 1934 is $200. “There shall be levied, collected, and paid upon the making

of a [firearm suppressor] a tax at the rate of $200 for each firearm made.” 26 U.S.C. § 5821(a).

“The tax imposed by subsection (a) of this section shall be paid by the person making the [firearm

suppressor].” 26 U.S.C. § 5821(b). “The tax imposed by subsection (a) of this section shall be

payable by the stamp prescribed for payment by the Secretary.” 26 U.S.C. § 5821(c). “Payment of

the tax on the making of a firearm shall be represented by a $200 adhesive stamp bearing the words

‘National Firearms Act.’ The stamps are maintained by the Director.” 27 C.F.R. § 479.61.

   75.   In 1934, the $200 amount “was decided because that was the average cost of a machine

gun, and a 100% tax would thereby be imposed.” Halbrook, supra, at 50; Firearms Law and the

Second Amendment at 571.

   76.   Before the enactment of the Firearms Act of 1934, a firearm suppressor cost about five

dollars. Halbrook, supra, at 50.




                                                 17
     Case 4:22-cv-00143-P Document 1 Filed 02/24/22                   Page 18 of 29 PageID 18



      77.    The amount of the tax—$200—has not changed since 1934. Firearms Law and the Second

Amendment at 578; 26 U.S.C. § 5821(a). According to the online inflation calculator maintained by

the United States Bureau of Labor Statistics, $200 in 1934 is equivalent to over $4,000 today.3

      78.    The regular firearms sales tax has an exemption: “The tax imposed by section 4181 shall

not apply to any pistol, revolver, or firearm described in such section if manufactured, produced,

or imported by a person who manufactures, produces, and imports less than an aggregate of 50 of

such articles during the calendar year.” 26 U.S.C. § 4182(c)(1). There is no such exemption for

makers of “firearms” regulated by the National Firearms Act of 1934, including firearms

suppressors.

F. Prohibited Acts and Penalties for Makers of Firearm Suppressors

      79.    It is unlawful for any person to

            • “possess a [firearm suppressor] made in violation of the provisions of this chapter;”

            • “possess a [firearm suppressor] which is not registered to him in the National Firearms

               Registration and Transfer Record;”

            • “make a [firearm suppressor] in violation of the provisions of this chapter;” or

            • “possess a [firearm suppressor] which is not identified by a serial number as required by

               this chapter.”

26 U.S.C. § 5861(c), (d), (f), (i).




3   https://www.bls.gov/data/inflation_calculator.htm
                                                    18
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                   Page 19 of 29 PageID 19



   80. The penalties for any of the above violations are as follows:

         • “Any person who violates or fails to comply with any provision of this chapter shall, upon

            conviction, be fined not more than $10,000, or be imprisoned not more than ten years,

            or both.”

         • “Any [firearm suppressor] involved in any violation of the provisions of this chapter shall

            be subject to seizure and forfeiture.”

26 U.S.C. §§ 5871, 5872.

   81.    Thus, a person a person who makes a firearm suppressor in Texas for personal use in

Texas without obtaining BATFE’s permission, without paying the $200 tax, without registering

it, and without engraving a unique serial number and other information on the suppressor faces ten

years imprisonment, or a fine of not more than $10,000, or both.

                                           V. TEXAS LAW

   82. Under Texas law, “‘Firearm suppressor’ means any device designed, made, or adapted

to muffle the report of a firearm.” TEX. GOV’T CODE § 2.001(2).

   83.    “‘Manufacture’ includes forging, casting, machining, or another process for working a

material.” TEX. GOV’T CODE § 2.001(4).

   84. Under the National Firearms Act of 1934, “[t]he term ‘make’, and the various

derivatives of such word, shall include manufacturing (other than by one qualified to engage in

such business under this chapter), putting together, altering, any combination of these, or

otherwise producing a [firearm suppressor].” 26 U.S.C. § 5845(i); Compare to 26 U.S.C. § 5845

(“The term “manufacturer” means any person who is engaged in the business of manufacturing

[firearm suppressors].)” Federal law thus distinguishes between (1) persons who “make” a


                                                  19
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 20 of 29 PageID 20



firearm and who are not in the business of manufacturing firearms and (2) persons who are in the

business of manufacturing firearms. Chapter 2 of the Texas Government Code does not make this

same distinction.

   85.   “For the purposes of this subchapter, a firearm suppressor is manufactured in this state

if the item is manufactured: (1) in this state from basic materials; and (2) without the inclusion of

any part imported from another state other than a generic and insignificant part.” TEX. GOV’T

CODE § 2.051.

   86.   “‘Generic and insignificant part’ means an item that has manufacturing or consumer

product applications other than inclusion in a firearm suppressor. The term includes a spring,

screw, nut, and pin.” TEX. GOV’T CODE § 2.001(3).

   87.   Under Texas law, “A firearm suppressor that is manufactured in this state and remains

in this state is not subject to federal law or federal regulation, including registration, under the

authority of the United States Congress to regulate interstate commerce.” TEX. GOV’T CODE

§ 2.052(a).

   88. “A basic material from which a firearm suppressor is manufactured in this state,

including unmachined steel, is not a firearm suppressor and is not subject to federal regulation

under the authority of the United States Congress to regulate interstate commerce as if it actually

were a firearm suppressor.” TEX. GOV’T CODE § 2.052(b).

   89.   “A firearm suppressor manufactured and sold in this state must have the words ‘Made

in Texas’ clearly stamped on it.” TEX. GOV’T CODE § 2.053.

   90. “On written notification to the attorney general by a United States citizen who resides in

this state of the citizen’s intent to manufacture a firearm suppressor to which Section 2.052



                                                 20
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 21 of 29 PageID 21



applies, the attorney general shall seek a declaratory judgment from a federal district court in this

state that Section 2.052 is consistent with the United States Constitution.” TEX. GOV’T CODE

§ 2.054.

   91.     On July 28, 2021, BAFTE issued an “open letter” stating that “because [Chapter 2 of

the Texas Government Code] directly conflicts with federal firearms laws and regulations, federal

law supersedes [Chapter 2]. In summary, all provisions of the Gun Control Act (GCA) and the

National Firearms Act [of 1934] (NFA), including their corresponding regulations, continue to

apply to [federal firearms licensees] and all other persons.” Exhibit 4.

                                           VI. CLAIMS

                                            COUNT I

   The Court should enjoin federal law as applied to taxing and regulating firearm
   suppressors made in Texas for personal use in Texas because that law violates the
   Second Amendment.

   92.     Plaintiffs incorporate by reference all preceding paragraphs.

   93.     The National Firearms Act of 1934, as amended, and the regulations made pursuant

thereto are unconstitutional as applied to the making of firearm suppressors in Texas for personal

use in Texas.

   94.     Post-Heller, most courts review taxation and regulation of firearms under a two-part test.

“[T]he first step is to determine whether the challenged law impinges upon a right protected by

the Second Amendment—that is, whether the law regulates conduct that falls within the scope of

the Second Amendment’s guarantee; the second step is to determine whether to apply

intermediate or strict scrutiny to the law, and then to determine whether the law survives the

proper level of scrutiny.” Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, &



                                                  21
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 22 of 29 PageID 22



Explosives, 700 F.3d 185, 194 (5th Cir. 2012) (NRA v. BATFE) (collecting cases); see also Heller v.

District of Columbia, 670 F.3d 1244, 1252 (D.C. Cir. 2011) (Heller II).

   95.    “A regulation that threatens a right at the core of the Second Amendment—for example,

the right of a law-abiding, responsible adult to possess and use a handgun to defend his or her home

and family—triggers strict scrutiny. A less severe regulation—a regulation that does not encroach

on the core of the Second Amendment—requires a less demanding means-ends showing.” NRA

v. BATFE, 700 F.3d at 195 (citations omitted).

   96.    “This more lenient level of scrutiny could be called ‘intermediate’ scrutiny, but

regardless of the label, this level requires the government to demonstrate a ‘reasonable fit’ between

the challenged regulation and an ‘important’ government objective.” Id.

   97.    Post-Heller, courts may not review firearms regulation under a rational-basis standard of

review. Id. at 195–96.

   98.    Federal laws and regulations which tax and regulate the making of firearm suppressors in

Texas for personal use in Texas impinge upon a right protected by the Second Amendment.

   99.    Taxation and regulation of firearm suppressors made in Texas for personal use in Texas

do not survive intermediate scrutiny (much less the more stringent strict scrutiny standard of

review)

   100. Under the intermediate-scrutiny test courts ask whether the State’s interests in

proscribing a regulation are substantial, whether the challenged regulation advances these interests

in a direct and material way, and whether the extent of the restriction on the exercise of a

constitutional right is in reasonable proportion to the interests served. Edenfield v. Fane, 507 U.S.

761, 767 (1993).



                                                 22
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                   Page 23 of 29 PageID 23



   101. In undertaking the first inquiry under intermediate scrutiny, courts must identify with

care the interests the State itself asserts. Unlike rational-basis review, the intermediate-scrutiny

standard does not permit us to supplant the precise interests put forward by the State with other

suppositions. And courts must judge whether the stated interests are the actual interests served by

the restriction. Edenfield, 507 U.S. at 768.

   102. Under intermediate scrutiny, the government carries the burden of justifying the

regulation.

   103. Thus, applying intermediate scrutiny, the government most produce substantial evidence

to justify its taxation and regulation of firearm suppressors built in Texas for personal use in Texas.

It cannot do so.

   104. Raising revenue is not a sufficient justification for specifically taxing the exercise of a

constitutional right. Minneapolis Star & Tribune Co. v. Minnesota Comm’r of Revenue, 460 U.S. 575,

586–90 (1983).

   105. The government cannot demonstrate that taxation and regulation of firearm suppressors

(unlike dangerous items like hand grenades) is necessary for public health and safety. See United

States v. Freed, 401 U.S. 601, 609 (1971) (upholding the National Firearms Act of 1934 with respect

to hand grenades because “possession of hand grenades is not an innocent act. They are highly

dangerous offensive weapons.”). The government cannot point to any harm that taxing and

regulating firearm suppressors alleviates.

   106. Moreover, the government’s burden is not satisfied by mere speculation or conjecture.

Instead, it “must demonstrate that the harms it recites are real and that the restriction will in fact

alleviate them.” Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555 (2001).



                                                  23
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 24 of 29 PageID 24



    107. Possessing firearm suppressors is legal, but the barriers to making firearm suppressors in

Texas for personal use in Texas are excessive and oppressive and have no valid purpose.

    108. Under these standards, federal taxation and regulation of firearm suppressors is

unconstitutional.

    109. Firearm suppressors are not dangerous and were not regulated at all for the first several

decades after their invention.

    110. Firearm suppressors are widely accepted and very infrequently used in criminal activity.

    111. The fact that the National Firearms Act of 1934 regulates firearm suppressors at all is

merely a historical accident. The initial draft of the bill would have regulated only firearm

suppressors used in connection with other firearms regulated by the National Firearms Act of 1934,

such as machine guns and short-barreled shotguns. However, with nearly no comment or attention

by Congress on the need for regulation or taxation of firearm suppressors generally, the text was

rewritten to apply the National firearms Act of 1934’s regulations to all suppressors, as if they

themselves were similar to machine guns or short barreled shotguns. Halbrook, supra, at 46–52

(reciting the relevant legislative history).

    112. Until 2008, courts did not view taxation of firearms as a tax on the exercise of a

constitutional right. But now it is.

    113. There are no other examples of direct federal taxes on the exercise of a constitutional

right.

    114. The tax at issue is not a general tax on making goods that incidentally taxes the making of

firearm suppressors.




                                                24
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                Page 25 of 29 PageID 25



    115. Schnitz, Martin, and Allen’s making of a firearm suppressor in Texas, that will only be

used for their own home defense in Texas, cannot be taxed or regulated under the Taxing Clause,

U.S. CONST. art. I, § 8, cl. 1.

                                           COUNT II

    The Court should grant a declaratory judgment that neither the Commerce Clause nor
    the Necessary and Proper Clause authorize federal regulation of the making of a
    firearm suppressor for personal use in Texas.

    116. Plaintiffs incorporate by reference all preceding paragraphs.

    117. The National Firearms Act of 1934 is a taxing statute, not a regulation of interstate

commerce.

    118. The Gun Control Act of 1968 is a commerce regulation, but does not prohibit the making

of firearm suppressors for personal use.

    119. Even if the federal government regulated the making of firearm suppressors under its

power to regulate interstate commerce, that would be unconstitutional as applied to firearm

suppressors made in Texas for personal use in Texas.

    120. The Constitution authorizes the federal government “[t]o regulate Commerce … among

the several states.” U.S. CONST. art. I, § 8, cl. 3 (the Commerce Clause). Power under the

Commerce Clause “does not extend to the regulation of the internal commerce of any State.”

Gibbons v. Ogden, 22 U.S. 1, 64 (1824) The federal government may not regulate intrastate

commerce or non-commerce (such as making a firearm suppressor in Texas that will remain in

Texas) under the Commerce Clause.

    121. Although it is common to refer to constitutional cases involving congressional economic

regulation as “commerce clause cases,” this is inaccurate when applied to cases concerning

intrastate commerce and to non-economic activity. Those cases involve not the core Commerce
                                                25
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                 Page 26 of 29 PageID 26



Clause alone, but rather the Necessary and Proper Clause. U. S. CONST. art. I, § 8, cl. 18. Thus, in

Gonzales v. Raich, 545 U.S. 1 (2005), the Court upheld a congressional law regulating activity that

was intrastate and not commerce because the law was within “the power vested in Congress by

Article I, § 8, of the Constitution ‘[t]o make all Laws which shall be necessary and proper for

carrying into Execution’ its authority to ‘regulate Commerce with foreign Nations, and among the

several States.’ ” Id. at 5.

    122. “[A]ctivities that substantially affect interstate commerce are not themselves part of

interstate commerce, and thus the power to regulate them cannot come from the Commerce

Clause alone. Rather, … Congress’s regulatory authority over intrastate activities that are not

themselves part of interstate commerce (including activities that have a substantial effect on

interstate commerce) derives from the Necessary and Proper Clause.” Id. at 34 (concurring

opinion of Scalia, J.)

    123. The Necessary and Proper Clause authorizes regulation of economic activities outside

the core meaning of “commerce among the several states” (such as intrastate commerce and non-

commerce) when such regulation is incidental to or implied by the power to regulate commerce

among the several states. M’Culloch v. Maryland, 17 U.S. 316, 406 (1819) (discussing “incidental

or implied powers”); United States v. Lopez, 514 U.S. 549, 554 (1995) (describing earlier cases

regulating activities outside a strict reading of the Commerce Clause as “incidental regulation”).

    124. The Necessary and Proper Clause allows the exercise of incidental powers, but does not

allow the federal government to exercise “a great substantive and independent power, which

cannot be implied as incidental to other powers, or used as a means of executing them.” M’Culloch,

17 U.S. at 411. The only “means” authorized by the Necessary and Proper Clause are “means not



                                                26
   Case 4:22-cv-00143-P Document 1 Filed 02/24/22                  Page 27 of 29 PageID 27



less usual, not of higher dignity, not more requiring a particular specification than other means.”

Id. at 421. The Constitution “wisely omit[s] … all the means for carrying into execution the great

powers vested in government,” and only lists “distinct and independent” powers “among the

enumerated powers of the government.” Id. at 421–22.

   125. The power to regulate intrastate commerce, and the power to regulate non-commerce,

are “great substantive and independent power[s]” and are “distinct and independent” powers

than the power to regulate interstate commerce. As such, the power must be enumerated before

the federal government may exercise it. It is not. Therefore, the federal government may not

regulate intrastate commerce or non-commerce under either the Commerce Clause or the

Necessary and Proper Clause—even intrastate commerce and non-commerce that “exert a

substantial economic effect on interstate commerce.”

   126. Additionally, the Necessary and Proper Clause has less power when used against the

States. “It is of fundamental importance to consider whether essential attributes of state

sovereignty are compromised by the assertion of federal power under the Necessary and Proper

Clause.” United States v. Comstock, 560 U.S. 126, 153 (2010) (Kennedy, J., concurring).

   127. Schnitz, Martin, and Allen’s making of a firearm suppressor in Texas, that will only be

used for their own home defense in Texas, cannot be regulated under either the Commerce Clause,

U.S. CONST. art. I, § 8, cl. 3, or the Necessary and Proper Clause, U.S. CONST. art. I, § 8, cl. 18.

                                VII. PRAYER FOR RELIEF

       Wherefore, Plaintiffs request that the Court:

   a. Issue permanent injunctive relief enjoining Defendant from assessing and collecting the

       $200 tax on the making of firearm suppressors for personal use in Texas;



                                                 27
Case 4:22-cv-00143-P Document 1 Filed 02/24/22              Page 28 of 29 PageID 28



b. Issue permanent injunctive relief enjoining Defendants from enforcing federal statutes and

   regulations that impose duties other than paying a tax as applied to the making of firearm

   suppressors in Texas for personal use in Texas;

c. Declare that federal statutes and regulations that tax and regulate the making of firearm

   suppressors are not valid exercises of powers delegated to the federal government under

   either the Commerce Clause or the Necessary and Proper Clause; and

d. Award other and further relief as the Court deems equitable and just.




                                           28
Case 4:22-cv-00143-P Document 1 Filed 02/24/22              Page 29 of 29 PageID 29



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                                            29
